            Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 1 of 71




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 AMERICAN PATENTS LLC,
                                                      CIVIL ACTION NO. 6:21-cv-742
      Plaintiff,
                                                      ORIGINAL COMPLAINT FOR
        v.                                            PATENT INFRINGEMENT

 POLYCOM, INC. D/B/A POLYCOM                          JURY TRIAL DEMANDED
 ENTERPRISES, INC., AND
 PLANTRONICS, INC.,


      Defendants.


                ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff American Patents LLC (“American Patents” or “Plaintiff”) files this original

complaint against Defendants Polycom, Inc. d/b/a Polycom Enterprises, Inc., and Plantronics,

Inc. (collectively “Poly” or “Defendants”), alleging, based on its own knowledge as to itself and

its own actions and based on information and belief as to all other matters, as follows:

                                            PARTIES

       1.       American Patents is a limited liability company formed under the laws of the

State of Texas, with its principal place of business at 2325 Oak Alley, Tyler, Texas, 75703.

       2.       Polycom, Inc. d/b/a Polycom Enterprises, Inc. is a corporation duly organized and

existing under the laws of Delaware. Polycom, Inc. d/b/a Polycom Enterprises, Inc. may be

served through its registered agent CT Corporation System at 1999 Bryan St., Ste. 900, Dallas,

Texas 75201.

       3.       Plantronics, Inc. is a corporation duly organized and existing under the laws of

Delaware. Plantronics, Inc. may be served through its registered agent CT Corporation System

at 1999 Bryan St., Ste. 900, Dallas, Texas 75201.
               Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 2 of 71




          4.       The Defendants identified in paragraphs 2-3 above (collectively, “Poly”) lead and

are a part of an interrelated group of companies which together comprise one of the world’s

largest manufacturers and sellers of communication technologies, including under the Poly and

Polycom brands.

          5.       The Poly defendants named above and their affiliates are part of the same

corporate structure and distribution chain for the making, importing, offering to sell, selling, and

using of the accused devices in the United States, including in the State of Texas generally and

this judicial district in particular.

          6.       The Poly defendants named above and their affiliates share the same

management, common ownership, advertising platforms, facilities, distribution chains and

platforms, and accused product lines and products involving related technologies.

          7.       The Poly defendants named above and their affiliates regularly contract with

customers regarding equipment or services that will be provided by their affiliates on their

behalf.

          8.       Thus, the Poly defendants named above and their affiliates operate as a unitary

business venture and are jointly and severally liable for the acts of patent infringement alleged

herein.

                                    JURISDICTION AND VENUE

          9.       This is an action for infringement of United States patents arising under 35 U.S.C.

§§ 271, 281, and 284–85, among others. This Court has subject matter jurisdiction of the action

under 28 U.S.C. § 1331 and § 1338(a).

          10.      This Court has personal jurisdiction over Poly pursuant to due process and/or the

Texas Long Arm Statute because, inter alia, (i) Poly has done and continues to do business in



                                                    2
          Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 3 of 71




Texas; (ii) Poly has committed and continues to commit acts of patent infringement in the State

of Texas, including making, using, offering to sell, and/or selling accused products in Texas,

and/or importing accused products into Texas, including by Internet sales and sales via retail and

wholesale stores, inducing others to commit acts of patent infringement in Texas, and/or

committing a least a portion of any other infringements alleged herein; and (iii) Poly is registered

to do business in Texas.

       11.     Venue is proper in this district pursuant to 28 U.S.C. § 1400(b). Venue is further

proper because Poly has committed and continues to commit acts of patent infringement in this

district, including making, using, offering to sell, and/or selling accused products in this district,

and/or importing accused products into this district, including by Internet sales and sales via

retail and wholesale stores, inducing others to commit acts of patent infringement in Texas,

and/or committing at least a portion of any other infringements alleged herein in this district.

Poly has regular and established places of business in this district, including at least at 7700 West

Parmer Lane, Building C, Austin, Texas 78729, as Poly has admitted in prior litigation, and as

shown in the below screenshots:




                                                   3
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 4 of 71




(Source: https://www.poly.com/us/en/company/contact/office-locations)




(Source: screenshot from Google Maps Street View)

                                      BACKGROUND

       12.    The patents-in-suit generally pertain to communications networks and other

technology used in “smart” devices such as smartphones, smart TVs, and smart appliances. The

                                              4
          Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 5 of 71




technology disclosed by the patents was developed by personnel at Georgia Institute of

Technology (“Georgia Tech”).

       13.     Georgia Tech is a leading public research university located in Atlanta, Georgia.

Founded in 1885, Georgia Tech is often ranked as one of the top ten public universities in the

United States. The patents from Georgia Tech (“the Mody patents”) were developed by a

professor and a graduate student in Georgia Tech’s Electrical and Computer Engineering

department. The undergraduate and graduate programs of this department are often ranked in the

top five of their respective categories.

       14.     The Mody patents are related to Multi-Input, Multi-Output (MIMO) technology.

The inventors of the Mody patents were at the forefront of MIMO, developing, disclosing, and

patenting a solution for achieving both time and frequency synchronization in MIMO systems.

The Mody patents (or the applications leading to them) have been cited during patent prosecution

hundreds of times, by numerous leading companies in the computing and communications

industries, including AMD, Alcatel Lucent, Altair, AT&T, Atheros, Blackberry, Broadcom,

Comcast, Ericsson, Facebook, HP, Hitachi, Huawei, Infineon, Intel, Interdigital, IBM, Kyocera,

Marvell, Matsushita, Mediatek, Motorola, NEC, Nokia, Nortel Networks, NXP, Panasonic,

Philips, Qualcomm, Realtek, Samsung, Sanyo, Sharp, Sony, STMicroelectronics, Texas

Instruments, and Toshiba.




                                                5
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 6 of 71




                                            COUNT I

                     INFRINGEMENT OF U.S. PATENT NO. 7,088,782

       15.     On August 8, 2006, United States Patent No. 7,088,782 (“the ‘782 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Time And Frequency Synchronization In Multi-Input, Multi-Output (MIMO) Systems.”

       16.     American Patents is the owner of the ‘782 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘782 Patent against infringers, and to collect damages for all relevant times.

       17.     Poly used products and/or systems including, for example, its Poly Studio X50,

Poly Studio X30, Poly Trio C60, and Poly Telehealth Station families of products that include

802.11n and above capabilities (“accused products”):




                                                 6
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 7 of 71




(Source : https://www.poly.com/us/en/products/video-conferencing/studio/studio-x50)




                                              7
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 8 of 71




(Source : https://www.poly.com/us/en/products/video-conferencing/studio/studio-x30)




                                              8
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 9 of 71




(Source : https://www.poly.com/us/en/products/phones/trio/trio-c60)




                                              9
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 10 of 71




(Source : https://www.poly.com/us/en/products/video-conferencing/packaged/telehealth-station)




(Source : https://www.poly.com/content/dam/www/products/video/studio/studio-x50/doc/poly-

studio-x50-ds-en.pdf)




                                             10
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 11 of 71




(Source : https://www.poly.com/content/dam/www/products/video/studio/studio-x30/doc/poly-

studio-x30-ds-en.pdf)




(Source : https://www.poly.com/content/dam/www/products/phones/trio/trio-c60/doc/poly-trio-

c60-ds-en.pdf)




                                             11
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 12 of 71




(Source : https://www.poly.com/content/dam/www/products/video/packaged/telehealt-

station/doc/poly-telehealth-station-ds-en.pdf)

       18.     By doing so, Poly has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 30 of the ‘782 Patent. Poly’s infringement in this regard is ongoing.

       19.     Poly has infringed the ‘782 Patent by using the accused products and thereby

practicing a method for synchronizing a Multi-Input Multi-Output (MIMO) Orthogonal

Frequency Division Multiplexing (OFDM) system in time and frequency domains. For example,

the accused products support IEEE 802.11 n/ac standards and MIMO technology. According to

the IEEE 802.11n standard, the PLCP Protocol Data Unit (PPDU) has training fields and

signaling fields for helping in synchronizing the communication system.




(Source : https://www.poly.com/content/dam/www/products/video/studio/studio-x50/doc/poly-

studio-x50-ds-en.pdf)




                                                 12
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 13 of 71




(Source : https://www.poly.com/content/dam/www/products/video/studio/studio-x30/doc/poly-

studio-x30-ds-en.pdf)




(Source : https://www.poly.com/content/dam/www/products/phones/trio/trio-c60/doc/poly-trio-

c60-ds-en.pdf)




(Source : https://www.poly.com/content/dam/www/products/video/packaged/telehealt-

station/doc/poly-telehealth-station-ds-en.pdf)




                                                 13
 Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 14 of 71




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                       14
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 15 of 71




        (Source: https://www.cnrood.com/en/media/solutions/Wi-

        Fi_Overview_of_the_802.11_Physical_Layer.pdf)

        20.     The methods practiced by Poly’s use of the accused products include producing a

frame of data comprising a training symbol that includes a synchronization component that aids

in synchronization, a plurality of data symbols, and a plurality of cyclic prefixes. For example,

as part of the 802.11n standard, two preamble formats are defined for frames: HT-mixed format

and HT-greenfield format. The non-HT and HT-mixed format preambles consist of training

symbols, data symbols and guard intervals/cyclic prefixes, and the training symbols (L-STF and

L-LTF fields) are and have been used for frame synchronization. Alternatively, on request from

accused products, an 802.11 n/ac compliant WiFi access point can act as a transmitter and

perform the step of producing a frame of data comprising a training symbol that includes a

synchronization component that aids in synchronization, a plurality of data symbols, and a

plurality of cyclic prefixes.


                                                15
 Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 16 of 71




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                       16
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 17 of 71




       (Source: https://www.cnrood.com/en/media/solutions/Wi-

       Fi_Overview_of_the_802.11_Physical_Layer.pdf)




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       21.    The methods practiced by Poly’s use of the accused products include transmitting

the frame over a channel. The data frames containing the preambles are transmitted using one or

more transmitting antennas. Alternatively, on request from an accused product, an 802.11 n/ac

compliant WiFi access point can act as a transmitter and transmit the frame over a channel using

one or more transmitting antennas.




                                               17
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 18 of 71




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       22.     The methods practiced by Poly’s use of the accused products include receiving

the transmitted frame. For example, the receiving antennas of the accused products can receive

the transmitted frames for further processing.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       23.     The methods practiced by Poly’s use of the accused products include

demodulating the received frame. For example, the received data frames are demodulated using

the PLCP preambles.

                                                 18
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 19 of 71




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       24.     The methods practiced by Poly’s use of the accused products include

synchronizing the received demodulated frame to the transmitted frame such that the data

symbols are synchronized in the time domain and frequency domain. For example, different

fields of data like training symbols, cyclic prefixes and other signal bits are present in the

received frame. The training symbols (L-STF and L-LTF fields) help in synchronizing the frame

in both the time domain and frequency domain.




(Source : https://www.poly.com/content/dam/www/products/video/studio/studio-x50/doc/poly-

studio-x50-ds-en.pdf)




                                                  19
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 20 of 71




(Source : https://www.poly.com/content/dam/www/products/video/studio/studio-x30/doc/poly-

studio-x30-ds-en.pdf)




(Source : https://www.poly.com/content/dam/www/products/phones/trio/trio-c60/doc/poly-trio-

c60-ds-en.pdf)




(Source : https://www.poly.com/content/dam/www/products/video/packaged/telehealt-

station/doc/poly-telehealth-station-ds-en.pdf)




                                                 20
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 21 of 71




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                              21
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 22 of 71




(Source: https://www.iith.ac.in/~tbr/teaching/docs/802.11-2007.pdf)

       25.    The methods practiced by Poly’s use of the accused products include wherein the

synchronizing in the time domain comprises coarse time synchronizing and fine time

synchronizing. For example, the demodulation of PPDU frames also includes detecting training

field bits and establishing a timing synchronization. This time synchronization would include

both coarse and fine time synchronization. In general, coarse time synchronization is done using

L-STF field and fine time synchronization is done using L-LTF field present in the preamble.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                               22
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 23 of 71




       (Source: Introduction to MIMO Communications, Hampton, Jerry R. (2014))




       (Source: Next Generation Wireless LANs: 802.11n and 802.11ac, Perahia, Eldad and

       Stacey, Robert)

       26.     Poly has had actual knowledge of the ‘782 Patent at least as of the date when it

was notified of the filing of this action. By the time of trial, Poly will have known and intended

(since receiving such notice) that its continued actions would infringe and actively induce and

contribute to the infringement of one or more claims of the ‘782 Patent.




                                                23
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 24 of 71




       27.     Poly has also indirectly and willfully infringed, and continues to indirectly and

willfully infringe, the ‘782 Patent, as explained further below in the “Additional Allegations

Regarding Infringement” section.

       28.     American Patents has been damaged as a result of the infringing conduct by Poly

alleged above. Thus, Poly is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       29.     American Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘782 Patent.

                                            COUNT II

                     INFRINGEMENT OF U.S. PATENT NO. 7,310,304

       30.     On December 18, 2007, United States Patent No. 7,310,304 (“the ‘304 Patent”)

was duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Estimating Channel Parameters in Multi-Input, Multi-Output (MIMO) Systems.”

       31.     American Patents is the owner of the ‘304 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘304 Patent against infringers, and to collect damages for all relevant times.

       32.     Poly made, had made, used, imported, provided, supplied, distributed, sold, and/or

offered for sale products and/or systems including, for example, its Poly Studio X50, Poly Studio

X30, Poly Trio C60, and Poly Telehealth Station families of products that include 802.11n and

above capabilities (“accused products”):




                                                 24
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 25 of 71




(Source : https://www.poly.com/us/en/products/video-conferencing/studio/studio-x50)




                                             25
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 26 of 71




(Source : https://www.poly.com/us/en/products/video-conferencing/studio/studio-x30)




                                             26
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 27 of 71




(Source : https://www.poly.com/us/en/products/phones/trio/trio-c60)




                                              27
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 28 of 71




(Source : https://www.poly.com/us/en/products/video-conferencing/packaged/telehealth-station)




(Source : https://www.poly.com/content/dam/www/products/video/studio/studio-x50/doc/poly-

studio-x50-ds-en.pdf)




                                             28
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 29 of 71




(Source : https://www.poly.com/content/dam/www/products/video/studio/studio-x30/doc/poly-

studio-x30-ds-en.pdf)




(Source : https://www.poly.com/content/dam/www/products/phones/trio/trio-c60/doc/poly-trio-

c60-ds-en.pdf)




                                             29
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 30 of 71




(Source : https://www.poly.com/content/dam/www/products/video/packaged/telehealt-

station/doc/poly-telehealth-station-ds-en.pdf)

       33.     By doing so, Poly has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 1 of the ‘304 Patent. Poly’s infringement in this regard is ongoing.

       34.     Poly has infringed the ‘304 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale products including an Orthogonal

Frequency Division Multiplexing (OFDM) transmitter. For example, the accused products

support IEEE 802.11 n/ac standards and MIMO technology. The IEEE 802.11n standard “uses

OFDM modulation to transmit all data.”




       (Source:

       http://rfmw.em.keysight.com/wireless/helpfiles/89600b/webhelp/subsystems/wlan-

       mimo/Content/mimo_80211n_overview.htm)

       35.     The accused products include an encoder configured to process data to be

transmitted within an OFDM system, the encoder further configured to separate the data onto

one or more transmit diversity branches (TDBs). For example, the 802.11 ac standard is

backwards compatible with 802.11n and 802.11a. Thus, if a device, such as an accused product,


                                                 30
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 31 of 71




implements 802.11ac, then it also supports 802.11n and all previous versions of the WiFi

standards (i.e., IEEE 802.11 a/b/g/n). According to the IEEE 802.11n standard, an encoder block

is present in a transmitter section of general OFDM systems. The encoder(s) output(s) the data

onto multiple transmit chains (transmit diversity branches) for further processing.




       (Source: 802.11ac: A Survival Guide: Wi-Fi at Gigabit and Beyond, Gast, Matthew S.)




       (Source: 802.11ac: A Survival Guide: Wi-Fi at Gigabit and Beyond, Gast, Matthew S.)




                                                31
 Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 32 of 71




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                       32
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 33 of 71




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       36.     The accused products include one or more OFDM modulators, each OFDM

modulator connected to a respective TDB, each OFDM modulator configured to produce a frame

including a plurality of data symbols, a training structure, and cyclic prefixes inserted among the

data symbols. For example, according to the IEEE 802.11n standard, a transmitter block would

contain different functional blocks which include constellation mappers, IDFT stage, and Guard

interval insertion. The constellation mapper maps the bits and the constellation points for

different modulation schemes like QPSK, BPSK, 16-QAM, and 64-QAM. Hence, there would

be modulator blocks for performing the modulation. After modulating the signal, it is converted




                                                33
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 34 of 71




into the time domain and is transmitted as frames of data. These transmitted frames include a

training structure, signal bits, cyclic prefixes and data bits.




        (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                                   34
 Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 35 of 71




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                       35
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 36 of 71




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       37.    The accused products include one or more transmitting antennas in

communication with the one or more OFDM modulators, respectively, each transmitting antenna

configured to transmit the respective frame over a channel. The accused products support 802.11

a/b/g/n/ac WiFi standards and comprise one or more transmitting and one or more receiving

antennas. These transmitting antennas transmit multiple OFDM frames with various signal

fields over a channel. Thus, these transmitting antennas are connected to the OFDM modulators

to obtain the OFDM frames for further transmission.




                                              36
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 37 of 71




(Source : https://www.poly.com/content/dam/www/products/video/studio/studio-x50/doc/poly-

studio-x50-ds-en.pdf)




(Source : https://www.poly.com/content/dam/www/products/video/studio/studio-x30/doc/poly-

studio-x30-ds-en.pdf)




                                            37
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 38 of 71




(Source : https://www.poly.com/content/dam/www/products/phones/trio/trio-c60/doc/poly-trio-

c60-ds-en.pdf)




(Source : https://www.poly.com/content/dam/www/products/video/packaged/telehealt-

station/doc/poly-telehealth-station-ds-en.pdf)




(Source: http://rfmw.em.keysight.com/wireless/helpfiles/89600b/webhelp/subsystems/wlan-

mimo/Content/mimo_80211n_overview.htm)




                                                 38
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 39 of 71




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       38.     The accused products include wherein the training structure of each frame

includes a predetermined signal transmission matrix at a respective sub-channel, each training

structure adjusted to have a substantially constant amplitude in a time domain, and the cyclic

prefixes are further inserted within the training symbol, and wherein the cyclic prefixes within

the training symbol are longer than the cyclic prefixes among the data symbols, thereby

countering an extended channel impulse response and improving synchronization performance.

For example, a space time matrix is part of the data symbols and the training symbols in the

transmission data. This data is transmitted over different antennas. The WiFi standards use

guard intervals while transmitting frames to help the synchronization of frames at the receiver

end. These guard intervals are of different lengths for the preamble and data symbols. The

screenshots below show the Guard interval in the Long Training Field is 1.6 micro seconds, and


                                                39
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 40 of 71




the data field uses a Short guard interval of 0.4 micro seconds, so the cyclic prefix for the

training symbols is longer than the cyclic prefix for data symbols. The training symbols (L-STF,

HT-STF fields) in the 802.11n preamble have a constant amplitude in the time domain.




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                                 40
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 41 of 71




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://www.ahltek.com/WhitePaperspdf/802.11-20%20specs/802.11a-1999.pdf)




                                              41
          Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 42 of 71




(Source: Next Generation Wireless LANs: 802.11n and 802.11ac, Perahia, Eldad and Stacey,

Robert)

       39.     Poly has had actual knowledge of the ‘304 Patent at least as of the date when it

was notified of the filing of this action. By the time of trial, Poly will have known and intended

(since receiving such notice) that its continued actions would infringe and actively induce and

contribute to the infringement of one or more claims of the ‘304 Patent.

       40.     Poly has also indirectly and willfully infringed, and continues to indirectly and

willfully infringe, the ‘304 Patent, as explained further below in the “Additional Allegations

Regarding Infringement” section.

       41.     American Patents has been damaged as a result of the infringing conduct by Poly

alleged above. Thus, Poly is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.


                                                42
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 43 of 71




       42.     American Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘304 Patent.

                                           COUNT III

                     INFRINGEMENT OF U.S. PATENT NO. 7,706,458

       43.     On April 27, 2010, United States Patent No. 7,706,458 (“the ‘458 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Time And Frequency Synchronization In Multi-Input, Multi-Output (MIMO) Systems.”

       44.     American Patents is the owner of the ‘458 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘458 Patent against infringers, and to collect damages for all relevant times.

       45.     Poly made, had made, used, imported, provided, supplied, distributed, sold, and/or

offered for sale products and/or systems including, for example, its Poly Studio X50, Poly Studio

X30, Poly Trio C60, and Poly Telehealth Station families of products that include 802.11n and

above capabilities (“accused products”):




                                                 43
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 44 of 71




(Source : https://www.poly.com/us/en/products/video-conferencing/studio/studio-x50)




                                             44
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 45 of 71




(Source : https://www.poly.com/us/en/products/video-conferencing/studio/studio-x30)




                                             45
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 46 of 71




(Source : https://www.poly.com/us/en/products/phones/trio/trio-c60)




                                              46
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 47 of 71




(Source : https://www.poly.com/us/en/products/video-conferencing/packaged/telehealth-station)




(Source : https://www.poly.com/content/dam/www/products/video/studio/studio-x50/doc/poly-

studio-x50-ds-en.pdf)




                                             47
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 48 of 71




(Source : https://www.poly.com/content/dam/www/products/video/studio/studio-x30/doc/poly-

studio-x30-ds-en.pdf)




(Source : https://www.poly.com/content/dam/www/products/phones/trio/trio-c60/doc/poly-trio-

c60-ds-en.pdf)




                                             48
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 49 of 71




(Source : https://www.poly.com/content/dam/www/products/video/packaged/telehealt-

station/doc/poly-telehealth-station-ds-en.pdf)

       46.     By doing so, Poly has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 1 of the ‘458 Patent. Poly’s infringement in this regard is ongoing.

       47.     Poly has infringed the ‘458 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale products including an apparatus for

synchronizing a communication system. For example, the accused products can act and have

acted as a receiver in an apparatus for synchronizing a communication system. An 802.11 n/ac

compliant WiFi access point that is communicating with an accused product can be part of the

apparatus, acting as a transmitter. The accused products support IEEE 802.11 n/ac standards and

MIMO technology. The IEEE 802.11ac standard is backwards compatible with the 802.11n

standard. If a device such as an accused product complies with IEEE 802.11ac, it also complies

with IEEE 802.11n and all prior versions of the WiFi standards (802.11 a/b/g/n). According to

the 802.11a standard, the physical layer services include an OFDM system. According to the

IEEE 802.11n standard, all Protocol Data Unit (PPDU) frame formats have training fields and

signaling fields which would help in synchronizing the communication system.




       (Source: 802.11ac: A Survival Guide: Wi-Fi at Gigabit and Beyond, Gast, Matthew S.)


                                                 49
 Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 50 of 71




(Source: 802.11ac: A Survival Guide: Wi-Fi at Gigabit and Beyond, Gast, Matthew S.)




(Source: https://standards.ieee.org/standard/802_11a-1999.html)




                                       50
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 51 of 71




      (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




      (Source: https://ieeexplore.ieee.org/document/7797535/)

      48.    The accused products include a number (Q) of Orthogonal Frequency Division

Multiplexing (OFDM) modulators, each OFDM modulator producing a frame having at least one

                                             51
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 52 of 71




inserted symbol, a plurality of data symbols, and cyclic prefixes. According to the IEEE 802.11n

standard, a transmitter block contains different functional blocks which include, but are not

limited to, constellation mappers, IDFT stage, and Guard interval insertion. Constellation

mappers map the bits and the constellation points for different modulation schemes like QPSK,

BPSK, 16-QAM, 64-QAM. After modulating the signal, it is converted into time domain and is

transmitted as frames of data. These transmitted frames include training field bits, signal bits,

cyclic prefixes and data bits. Alternatively, on request from an accused product, an 802.11 n/ac

compliant WiFi access point can act as a transmitter that includes a number (Q) of OFDM

modulators, each OFDM modulator producing a frame having at least one inserted symbol, a

plurality of data symbols, and cyclic prefixes.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)



                                                  52
 Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 53 of 71




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                       53
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 54 of 71




       49.     The accused products include Q transmitting antennas, each transmitting antenna

connected to a respective OFDM modulator, the transmitting antennas configured to transmit a

respective frame over a channel. The accused products support MIMO and comply with IEEE

802.11 a/b/g/n/ac standards. The transmitting antennas transmit multiple OFDM frames over a

channel. The transmitting antennas are connected to OFDM modulators to transmit the OFDM

frames over a channel. Alternatively, on request from an accused product, a WiFi access point

acts as a device that includes Q transmitting antennas, each transmitting antenna connected to a

respective OFDM modulator, the transmitting antennas configured to transmit a respective frame

over a channel.




(Source : https://www.poly.com/content/dam/www/products/video/studio/studio-x50/doc/poly-

studio-x50-ds-en.pdf)




(Source : https://www.poly.com/content/dam/www/products/video/studio/studio-x30/doc/poly-

studio-x30-ds-en.pdf)



                                               54
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 55 of 71




(Source : https://www.poly.com/content/dam/www/products/phones/trio/trio-c60/doc/poly-trio-

c60-ds-en.pdf)




(Source : https://www.poly.com/content/dam/www/products/video/packaged/telehealt-

station/doc/poly-telehealth-station-ds-en.pdf)




                                                 55
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 56 of 71




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       50.    The accused products include a number (L) of receiving antennas for receiving

the transmitted frames. For example, the accused products support MIMO and comply with

802.11 a/b/g/n/ac WiFi standards. The receiving antennas receive the transmitted frames.




(Source : https://www.poly.com/content/dam/www/products/video/studio/studio-x50/doc/poly-

studio-x50-ds-en.pdf)




                                              56
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 57 of 71




(Source : https://www.poly.com/content/dam/www/products/video/studio/studio-x30/doc/poly-

studio-x30-ds-en.pdf)




(Source : https://www.poly.com/content/dam/www/products/phones/trio/trio-c60/doc/poly-trio-

c60-ds-en.pdf)




                                             57
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 58 of 71




(Source : https://www.poly.com/content/dam/www/products/video/packaged/telehealt-

station/doc/poly-telehealth-station-ds-en.pdf)

       51.     The accused products include L OFDM demodulators, each OFDM demodulator

corresponding to a respective receiving antenna, the L OFDM demodulators including a

synchronization circuit that processes the received frame in order to synchronize the received

frame in both time domain and frequency domain. For example, there is a demodulator block for

performing demodulation on the received frames. Further, synchronizing the received frame in

time and frequency domains occurs. In an OFDM transmitter section, a modulated signal is

converted into time domain and is transmitted as multiple frames of data. The functional blocks

present at the receiver end processes the received data, converts the data into frequency domain,

and performs demodulation. Various signal bits present in the transmitted frames’ preamble

helps in demodulating the signal. A demodulator block is present at the receiver to perform

demodulation. Different fields of data like training bits, cyclic prefixes and other signal bits

present in the received frame helps in synchronizing the frame in both time and frequency

domain. There is a synchronization circuit which processes the received frame and synchronizes

them in both time and frequency domain.




                                                 58
 Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 59 of 71




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                       59
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 60 of 71




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       52.     The accused products include wherein each of the L OFDM demodulators

comprises a pre-amplifier, a local oscillator, a mixer having a first input and a second input, the

first input connected to an output of the pre-amplifier, the second input connected to an output of

the local oscillator, an analog-to-digital converter (ADC) connected to an output of the mixer.

The demodulating section at the receiver end includes a pre-amplifier, a local oscillator, a mixer,

and an ADC. The received frames undergo filtering, amplification (pre-amplifier), down-

conversion and sampling (ADC). There are respective functional blocks for performing these

functions. After transmitting the data, the data is received by a receiving antenna for further

processing. To prevent the demodulator from demodulating the noise associated with the

received signal, an RF front end circuit is implemented to increase the SNR of the demodulated

signal. The RF front end circuit generally consists of amplifiers, local oscillator, filters and

mixers. The output from the mixer is generally fed to an analog-to-digital converter (ADC).

This RF front end circuit generally lies at the start of the demodulation process.



                                                 60
 Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 61 of 71




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: VLSI for Wireless Communication)




(Source: VLSI for Wireless Communication)




(Source: VLSI for Wireless Communication)




                                       61
        Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 62 of 71




       (Source: RF Imperfections in High-rate Wireless Systems: Impact and Digital

       Compression, Schenk, Tim)




       (Source: https://www.eetimes.com/document.asp?doc_id=1276331)

       53.    The accused products include the synchronization circuit having one input

connected to an output of the ADC. The PPDU frames that are transmitted are demodulated at

the receiver end. The demodulation process includes estimating time and frequency offsets and

synchronizing accordingly.




                                              62
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 63 of 71




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




       (Source: https://www.eetimes.com/document.asp?doc_id=1276331)

       54.     The accused products include a cyclic-prefix remover connected to an output of

the synchronization circuit, a serial-to-parallel converter connected to an output of the cyclic

prefix remover, and a discrete Fournier transform (DFT) stage connected to an output of the

serial-to-parallel converter, an output of the DFT stage connected to another input to the

synchronization circuit. Cyclic prefixes are added in the preamble for each transmitted frame.

In a general OFDM system, a cyclic prefix remover circuit would be present at the receiver end.

The output from the cyclic prefix remover circuit would be fed to a serial-to-parallel converter




                                                 63
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 64 of 71




for performing a DFT operation on its output. The evidence also shows that the output of the

DFT stage is connected to the phase correction block that is part of the synchronization circuit.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




       (Source: RF Imperfections in High-rate Wireless Systems: Impact and Digital

       Compression, Schenk, Tim)



                                                64
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 65 of 71




       (Source: Next Generation Wireless LANs: 802.11n and 802.11ac, Perahia, Eldad and

       Stacey, Robert)

       55.     Poly has had actual knowledge of the ‘458 Patent at least as of the date when it

was notified of the filing of this action. By the time of trial, Poly will have known and intended

(since receiving such notice) that its continued actions would infringe and actively induce and

contribute to the infringement of one or more claims of the ‘458 Patent.

       56.     Poly has also indirectly and willfully infringed, and continues to indirectly and

willfully infringe, the ‘458 Patent, as explained further below in the “Additional Allegations

Regarding Infringement” section.

       57.     American Patents has been damaged as a result of the infringing conduct by Poly

alleged above. Thus, Poly is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.



                                                65
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 66 of 71




       58.     American Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘458 Patent.

             ADDITIONAL ALLEGATIONS REGARDING INFRINGEMENT

       59.     In addition to any specific products mentioned above, the accused products also

include at least the following products: Poly Studio X50, Poly Studio X30, Poly Studio, Poly

G7500, Poly EduCart 2, Poly Telehealth Station, Poly Pano, Poly USB, Poly CCX 700, Poly

CCX 600, Poly CCX 500, Poly VVC 250, Poly VVX 450, Poly Trio C60, Poly Trio 8800, and

Poly Trio 8300.

       60.     Poly has also indirectly infringed the ‘782 Patent, the ‘304 Patent, and the ‘458

Patent by inducing others to directly infringe the ‘782 Patent, the ‘304 Patent, and the ‘458

Patent. Poly has induced the end-users, Poly’s customers, to directly infringe (literally and/or

under the doctrine of equivalents) the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent by using

the accused products.

       61.     Poly took active steps, directly and/or through contractual relationships with

others, with the specific intent to cause them to use the accused products in a manner that

infringes one or more claims of the patents-in-suit, including, for example, Claim 30 of the ‘782

Patent, Claim 1 of the ‘304 Patent, and Claim 1 of the ‘458 Patent.

       62.     Such steps by Poly included, among other things, advising or directing customers

and end-users to use the accused products in an infringing manner; advertising and promoting the

use of the accused products in an infringing manner; and/or distributing instructions that guide

users to use the accused products in an infringing manner.




                                                66
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 67 of 71




        63.      Poly has performed these steps, which constitute induced infringement, with the

knowledge of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent and with the knowledge that

the induced acts constitute infringement.

        64.      Poly was and is aware that the normal and customary use of the accused products

by Poly’s customers would infringe the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent. Poly’s

inducement is ongoing.

        65.      Poly has also induced its affiliates, or third-party manufacturers, shippers,

distributors, retailers, or other persons acting on its or its affiliates’ behalf, to directly infringe

(literally and/or under the doctrine of equivalents) the ‘782 Patent, the ‘304 Patent, and the ‘458

Patent by importing, selling, offering to sell, and/or using the accused products.

        66.      Poly has at least a significant role in placing the accused products in the stream of

commerce in Texas and elsewhere in the United States.

        67.      Poly directs or controls the making of accused products and their shipment to the

United States, using established distribution channels, for sale in Texas and elsewhere within the

United States.

        68.      Poly directs or controls the sale of the accused products into established United

States distribution channels, including sales to nationwide retailers.

        69.      Poly’s established United States distribution channels include one or more United

States based affiliates.

        70.      Poly directs or controls the sale of the accused products nationwide on its own

website as well as in nationwide retailers such as Amazon, B&H Photo, and Staples, including

for sale in Texas and elsewhere in the United States, and expects and intends that the accused

products will be so sold.



                                                    67
           Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 68 of 71




          71.   Poly took active steps, directly and/or through contractual relationships with

others, with the specific intent to cause such persons to import, sell, or offer to sell the accused

products in a manner that infringes one or more claims of the patents-in-suit, including, for

example, Claim 30 of the ‘782 Patent, Claim 1 of the ‘304 Patent, and Claim 1 of the ‘458

Patent.

          72.   Such steps by Poly included, among other things, making or selling the accused

products outside of the United States for importation into or sale in the United States, or knowing

that such importation or sale would occur; and directing, facilitating, or influencing its affiliates,

or third-party manufacturers, shippers, distributors, retailers, or other persons acting on its or

their behalf, to import, sell, or offer to sell the accused products in an infringing manner.

          73.   Poly performed these steps, which constitute induced infringement, with the

knowledge of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent and with the knowledge that

the induced acts would constitute infringement.

          74.   Poly performed such steps in order to profit from the eventual sale of the accused

products in the United States.

          75.   Poly’s inducement is ongoing.

          76.   Poly has also indirectly infringed by contributing to the infringement of the ‘782

Patent, the ‘304 Patent, and the ‘458 Patent. Poly has contributed to the direct infringement of

the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent by the end-user of the accused products.

          77.   The accused products have special features that are specially designed to be used

in an infringing way and that have no substantial uses other than ones that infringe the ‘782

Patent, the ‘304 Patent, and the ‘458 Patent, including, for example, Claim 30 of the ‘782 Patent,

Claim 1 of the ‘304 Patent, and Claim 1 of the ‘458 Patent.



                                                  68
           Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 69 of 71




          78.   As described above, the special features include improved wireless

communication capabilities used in a manner that infringes the ‘782 Patent, the ‘304 Patent, and

the ‘458 Patent.

          79.   The special features constitute a material part of the invention of one or more of

the claims of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent and are not staple articles of

commerce suitable for substantial non-infringing use.

          80.   Poly’s contributory infringement is ongoing.

          81.   Furthermore, Poly has a policy or practice of not reviewing the patents of others

(including instructing its employees to not review the patents of others), and thus has been

willfully blind of American Patents’ patent rights. See, e.g., M. Lemley, “Ignoring Patents,”

2008 Mich. St. L. Rev. 19 (2008).

          82.   Poly’s actions are at least objectively reckless as to the risk of infringing valid

patents and this objective risk was either known or should have been known by Poly.

          83.   Poly has knowledge of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent.

          84.   Poly’s customers have infringed the ‘782 Patent, the ‘304 Patent, and the ‘458

Patent.

          85.   Poly encouraged its customers’ infringement.

          86.   Poly’s direct and indirect infringement of the ‘782 Patent, the ‘304 Patent, and the

‘458 Patent is, has been, and/or continues to be willful, intentional, deliberate, and/or in

conscious disregard of American Patents’ rights under the patents.

          87.   American Patents has been damaged as a result of the infringing conduct by Poly

alleged above. Thus, Poly is liable to American Patents in an amount that adequately




                                                  69
         Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 70 of 71




compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                         JURY DEMAND

       American Patents hereby requests a trial by jury on all issues so triable by right.

                                     PRAYER FOR RELIEF

       American Patents requests that the Court find in its favor and against Poly, and that the

Court grant American Patents the following relief:

       a.      Judgment that one or more claims of the ‘782 Patent, the ‘304 Patent, and the

‘458 Patent, have been infringed, either literally and/or under the doctrine of equivalents, by Poly

and/or all others acting in concert therewith;

       b.      A permanent injunction enjoining Poly and its officers, directors, agents, servants,

affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in concert

therewith from infringement of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent; or, in the

alternative, an award of a reasonable ongoing royalty for future infringement of the ‘782 Patent,

the ‘304 Patent, and the ‘458 Patent by such entities;

       c.      Judgment that Poly account for and pay to American Patents all damages to and

costs incurred by American Patents because of Poly’s infringing activities and other conduct

complained of herein, including an award of all increased damages to which American Patents is

entitled under 35 U.S.C. § 284;

       d.      That American Patents be granted pre-judgment and post-judgment interest on the

damages caused by Poly’s infringing activities and other conduct complained of herein;

       e.      That this Court declare this an exceptional case and award American Patents its

reasonable attorney’s fees and costs in accordance with 35 U.S.C. § 285; and



                                                 70
            Case 6:21-cv-00742-ADA Document 1 Filed 07/20/21 Page 71 of 71




       f.       That American Patents be granted such other and further relief as the Court may

deem just and proper under the circumstances.

Dated: July 20, 2021                         Respectfully submitted,

                                             /s/ Zachariah S. Harrington
                                             Matthew J. Antonelli
                                             Texas Bar No. 24068432
                                             matt@ahtlawfirm.com
                                             Zachariah S. Harrington
                                             Texas Bar No. 24057886
                                             zac@ahtlawfirm.com
                                             Larry D. Thompson, Jr.
                                             Texas Bar No. 24051428
                                             larry@ahtlawfirm.com
                                             Christopher Ryan Pinckney
                                             Texas Bar No. 24067819
                                             ryan@ahtlawfirm.com

                                             ANTONELLI, HARRINGTON
                                             & THOMPSON LLP
                                             4306 Yoakum Blvd., Ste. 450
                                             Houston, TX 77006
                                             (713) 581-3000

                                             Stafford Davis
                                             State Bar No. 24054605
                                             sdavis@stafforddavisfirm.com
                                             Catherine Bartles
                                             Texas Bar No. 24104849
                                             cbartles@stafforddavisfirm.com
                                             THE STAFFORD DAVIS FIRM
                                             815 South Broadway Avenue
                                             Tyler, Texas 75701
                                             (903) 593-7000
                                             (903) 705-7369 fax

                                             Attorneys for American Patents LLC




                                                71
